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 4                            UNITED STATES DISTRICT COURT
 5                                    DISTRICT OF NEVADA
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     HENRY LUJAN, et al.,
 7                                                          Case No.: 2:16-cv-02694-NJK
            Plaintiff(s),
 8                                                                     ORDER
     v.
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     GORDON WESLEY THOMAS, et al.,
10
            Defendant(s).
11
12         The Court previously issued an order compromising Plaintiff A.E.G.’s claim in this action
13 and ordering Plaintiff Eduardo Gonzalez to open a blocked trust account on behalf of Plaintiff
14 A.E.G. Docket No. 81. A status check is currently set for November 17, 2020. Docket No. 83.
15 Plaintiff Eduardo Gonzalez has now filed confirmation that he opened a blocked trust account on
16 behalf of Plaintiff A.E.G. Docket No. 84. Accordingly, the status check set for November 17,
17 2020 is VACATED.
18         IT IS SO ORDERED.
19         Dated: October 16, 2020
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                                                              Nancy J. Koppe
21                                                            United States Magistrate Judge
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